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               In the United States Court of Federal Claims
                                                                                                                                )
  __________________________________
  Alex Joseph Graville                                                                                                          )
                                                                                                                                )
  __________________________________                                                                                            )
                      Plaintiff(s),                                                                                             )
                                                                                                                                                    Case No. ______________________
                                                                                                                                )
  v.                                                                                                                            )
                                                                                                                                                             Judge ______________________
                                                                                                                                )
  THE UNITED STATES,                                                                                                            )
                                                                                                                                )
                                                                 Defendant.                                                     )
                                                                                                                                )

                                                                                                            COMPLAINT
Your complaint must be clearly handwritten or typewritten, and you must sign and declare under
penalty of perjury that the facts are correct. If you need additional space, you may use another blank
page. A fillable pdf is available at http://uscfc.uscourts.gov/filing-a-complaint.
If you intend to proceed without the prepayment of filing fees (in forma pauperis (IFP)), pursuant to 28
U.S.C. § 1915, you must file along with your complaint an application to proceed IFP.
1. JURISDICTION. State the grounds for filing this case in the United States Court of Federal
    Claims. The United States Court of Federal Claims has limited jurisdiction (see e.g., 28 U.S.C.
    §§ 1491-1509).

_____________________________________________________________________________________
1) David Montani of Clayton Behavioral
a) Falsification of Prescription through zoom conference with Teri and Gerald Graville resulting in 300 mgs of Medication not FDA approved for help with sleep and rest against my will. This substance is recognized as corrosive, an irritant and an environmental
hazard through the U.S. government recognized pubchem.gov. Though the medication is recognized through some, groups such as the Torrent group or Alembic Pharmaceuticals Ltd no longer realize the effectiveness of this particular medication and it is not

_____________________________________________________________________________________
FDA approved for help with sleep and rest.
i) In violation of:
(1) 21 CFR § 1311.110 - Requirements for obtaining an authentication credential - Individual practitioners eligible to use an electronic prescription application of an institutional practitioner.

_____________________________________________________________________________________
(a) A breach in contract due to the fact Clayton Behavioral had no knowledge of the prescription in question being written along with this medication not being recognized by the FDA for help with sleep and rest as the aforementioned prescriber of the medication
had explicitly informed me after having a documented medicated misdiagnosis while trying to hold an outlying possible diagnosis that Teri Graville searched on her phone, in the room to have my stay at CenterPointe justifiable as she wrote on an affidavit written
against me.

_____________________________________________________________________________________
(i) 21 CFR § 1311.110 Subsection (e) making the aformentioned zoom conference in which the prescription was written applicable in the situation.
(ii) Giving basis for a C.V. of David Montaini to be collected and examined because of the breach in contract at the expense of Alex Joseph Graville.
(2) § 1306.05 - Manner of issuance of prescriptions.

_____________________________________________________________________________________
(a) Due to non-compliance with the previously mentioned section 21 CFR § 1311.
(3) Requesting to obtain Title 42, Volume 1, Chapter II-III for further justification if applicable.
b) Medicated Misdiagnosis
_____________________________________________________________________________________
i) The initial diagnosis that Montaini had medicated me through his understanding was written off due to his admission that he was incorrect only claimed to be able to help with sleep and rest.
ii) The original prescription given to me by Montani seemed to change drastically after the first day of medication. Not only in a sense of how the medication acted as a sleeping pill but the texture on my tongue and through intake changed drastically. It felt as if

_____________________________________________________________________________________
had change from a thin film to one with no film at all. The sensation I can only relate to the feeling of fiberglass. Medication was kept at 3130 Post Run Dr..
(2) Teri Graville has since admitted in a police station The O’Fallon PD off of Bryan Rd. to be exact, to repurposing pills in for “personal use only”.
2) Mohd A Malik of CenterPointe Hospital

_____________________________________________________________________________________
a) *See section a) of point (1) & Subsection (ii) of the aformentioned point to see why a C.V. of Mohd A Malik of CenterPointe as well, possibly a resident of Wildwood or Virginia.
b) 9 CSR 50-2.010 to 9 CSR 50-2.510
c) 9 CSR 50-2.510 - Admissions to Adult Placement Program

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i) Was an abuse of power due to negligence at the hands of the CenterPointe staff to no check as to if there was an actual diagnosis to be given or if the aforementioned person who was searching mental diseases on her phone to remove the validity of my word
by using the name of someone employed through the Police Department.
d) Was told by a Registered Nurse that I was forced to comply and endure a stay at CenterPointe because the police were on standby. The day of admission I was assaulted the taken to a padded room where I was told I had to take medication or I was to be

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strapped down and injected with medication to force me to sleep, to avoid being injected with anesthesia I opted to let them break my free will and drug me with medication that Malik forced my blood levels to stay above a therapeutic level of.
i) A direct intrusion on my rights to advocate on the behalf of my wellbeing.
(a) The weeks after being force to stay above what is considered a therapeutic level of medications including 1500 mgs of a medication not FDA approved for sleep and rest as David Montani clamed it was all he could help me with, along with two other
_____________________________________________________________________________________
medications I experienced and persisted to have taste of metal in my mouth and was urinating a red hue for weeks after. I have continued to experience pains in my lower right quarter and about 6 months after being forced to take this myriad of inhumane
treatments I began to have difficulty moving and articulating or holding a steering wheel the left side of my body while being able to see intermitently.

_____________________________________________________________________________________
e) Was told to and spoke with a legal representive before CenterPointe was to take me to court leading them releasing me on my own accord. This was an unwarranted abduction ab inito and an infringement upon my rights due to the fact that I was making an
accusation of Teri Graville repurposing medication which has since then admitted to the police.
f) Was assulted the day that the affadavits were signed against me, had to reset my throat and was told that if I did not comply with the medication for help with sleep and rest I was to be injected with it alternativly and refused the injection of anesthesia I spoke

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with an officer, throat never checked. Ref. 28 CFR Chapter V due to affadavits.



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I apologize for the formatting errors but it appears to have shown that an Uncaught ReferenceError: cr is not defined at event tracker.is:14. As a red X in the coding of this section. As I did have a line repeate twice when trying to edit.
Along with 5 >crbug/non-35 module files deprecated. With lines ending in.


_____________________________________________________________________________________
assert.is.85

load time data.is:215

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util.is:320
promise resolver.is:84


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2. PARTIES

Plaintiff, _____________________________,
           Alex Graville                  resides at_______________________________________
                                                    3539 Big Bear Ct.
                                                                                                                                (Street Address)

_________________________________________________,
Wentzville, MO, 63385                              __________________________________
                                                   (636) 284-4412
                              (City, State, ZIP Code)                                                                         (Telephone Number)

If more than one plaintiff, provide the same information for each plaintiff below.

_____________________________________________________________________________________
N/A
_____________________________________________________________________________________
_____________________________________________________________________________________

3. PREVIOUS LAWSUITS. Have you begun other lawsuits in the United States Court of Federal
   Claims?                     Yes ✔ No

      If yes, please list cases:


4. STATEMENT OF THE CLAIM. State as briefly as possible the facts of your case. Describe
        how the United States is involved. You must state exactly what the United States did, or failed
        to do, that has caused you to initiate this legal action. Be as specific as possible and use
        additional paper as necessary.
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a) Falsification of Prescription through zoom conference with Teri and Gerald Graville resulting in 300 mgs of Medication not FDA approved for help with sleep and rest against
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(a) The weeks after being force to stay above what is considered a therapeutic level of medications including 1500 mgs of a medication not FDA approved for sleep and rest
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a red hue for weeks after. I have continued to experience pains in my lower right quarter and about 6 months after being forced to take this myriad of inhumane treatments I
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began to have difficulty moving and articulating or holding a steering wheel the left side of my body while being able to see intermitently along with being unable to do some
things that I wish not disclose here.
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e) Was told to and spoke with a legal representive before CenterPointe was to take me to court leading them releasing me on my own accord. This was an unwarranted
abduction ab inito and an infringement upon my rights due to the fact that I was making an accusation of Teri Graville repurposing medication which has since then admitted to
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5. RELIEF. Briefly state exactly what you want the court to do for you.

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Make sure my situation does not happen to another individual also do to the fact of the medicated missdiagnosis,
_____________________________________________________________________________________
and the two counts of failure to diagnose through Mohd Malik, financial compensation.
_____________________________________________________________________________________
_____________________________________________________________________________________
I declare under penalty of perjury that the foregoing is true and correct.

Signed this __________
            23         day of _____________________,
                              7                      ________.
                                                     2021
                (day)                       (month)               (year)


                                                        __________________________________________
                                                                           Signature of Plaintiff(s)




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